                      Case 22-50427-JTD                Doc 2     Filed 10/04/22        Page 1 of 5


                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

In re:                                                                    Chapter 11

MALLINCKRODT PLC, et al.,                                                 Case No. 20-12522 (JTD)
                                                                          (Jointly Administered)
                                   Reorganized Debtors.


Heather L. Barlow as Trustee of the MALLINCKRODT                          Adv. Proc. No. 22-50427 (JTD)
GENERAL UNSECURED CLAIMS TRUST,

                                   Plaintiff,

                             v.

JOSEPH M. DAVIE,

                                   Defendant.


         SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with
the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States
and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                  Address of Clerk:             United States Bankruptcy Court
                                                824 Market Street, 3rd Floor
                                                Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiffs’ attorney. Name and Address of
Plaintiffs’ Attorneys:

                                         PACHULSKI STANG ZIEHL & JONES LLP
                                             Laura Davis Jones (DE Bar No. 2436)
                                               James E. O’Neill (Bar No. 4042)
                                          Jason S. Pomerantz (admitted pro hac vice)
                                              919 North Market Street, 17th Floor
                                                        P.O. Box 8705
                                         Wilmington, DE 19899-8705 (Courier 19801)
                                                  Telephone: (302) 652-4100
                                                  Facsimile: (302) 652-4400
                                                  Email: ljones@pszjlaw.com
                                                     joneill@pszjlaw.com
                                                  jspomerantz@pszjlaw.com




DOCS_DE:240678.1 54469/001
                      Case 22-50427-JTD            Doc 2      Filed 10/04/22       Page 2 of 5


If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held
at the following time and place.
                         Address: United States Bankruptcy Court     Courtroom No. 5
                         824 Market Street, 5th Floor
                         Wilmington, DE 19801                        Date and Time: December 20, 2022 at 1:00 p.m. (ET)

                             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO
                             BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
                             JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
                             IN THE COMPLAINT.
United States Bankruptcy
Court for the District of Delaware                           /s/ Una O’Boyle
                                                             Clerk of the Bankruptcy Court
Date: October 4, 2022




DOCS_DE:240678.1 54469/001
                  Case 22-50427-JTD          Doc 2      Filed 10/04/22       Page 3 of 5



                                     CERTIFICATE OF SERVICE

I, James E. O’Neill, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the complaint was made October 4, 2022 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid and certified mail
        return receipt, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: October 4, 2022                                    /s/ James E. O’Neill
                                                          James E. O’Neill (Bar No. 4042)
                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                          919 North Market Street, 17th Floor
                                                          Wilmington, DE 19899-8705 (Courier 19801)




DOCS_DE:240678.1 54469/001
                  Case 22-50427-JTD     Doc 2    Filed 10/04/22       Page 4 of 5




Mallinckrodt plc, et al. – Adversary Service List (Joseph M. Davie)
Main Case No. 20-12522 (JTD)
Doc. No. 240678
01 – First Class Mail
01 – Certified Mail


First Class Mail
Joseph M. Davie
16016 Cutters Court
Fort Myers, FL 33908

Certified Mail Return Receipt
Joseph M. Davie
16016 Cutters Court
Fort Myers, FL 33908




DOCS_DE:240678.1 54469/001
                      Case 22-50427-JTD           Doc 2    Filed 10/04/22       Page 5 of 5


                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

MALLINCKRODT PLC, et al.,                                          Case No. 20-12522 (JTD)
                                                                   (Jointly Administered)
                                   Reorganized Debtors.


Heather L. Barlow as Trustee of the MALLINCKRODT                   Adv. Proc. No. 22-50427 (JTD)
GENERAL UNSECURED CLAIMS TRUST,

                                   Plaintiff,

                             v.

JOSEPH M. DAVIE,

                                   Defendant.



                             NOTICE OF DISPUTE RESOLUTION ALTERNATIVES
       As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement
of your case, however, can often produce a resolution more quickly than appearing before a judge.
Additionally, settlement can also reduce the expense, inconvenience, and uncertainty of litigation.
        There are dispute resolution structures, other than litigation, that can lead to resolving your case.
Alternative Dispute Resolution (ADR) is offered through a program established by this Court. The use of these
services are often productive and effective in settling disputes. The purpose of this Notice is to furnish
general information about ADR.
         The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and
arbitration. In each, the process is presided over by an impartial third party, called the “neutral”.
        In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement
on you. It fosters an environment where offers can be discussed and exchanged. In the process, together, you
and your attorney will be involved in weighing settlement proposals and crafting a settlement. The Court in its
Local Rules requires all ADR processes, except threat of a potential criminal action, to be confidential. You
will not be prejudiced in the event a settlement is not achieved because the presiding judge will not be advised
of the content of any of your settlement discussions.
       Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the
mediator will act as an arbitrator. At that point, the process is the same as arbitration. You, through your
counsel, will present evidence to a neutral, who issues a decision. If the matter in controversy arises in the main
bankruptcy case or arises from a subsidiary issue in an adversary proceeding, the arbitration, though voluntary,
may be binding. If a party requests de novo review of an arbitration award, the judge will rehear the case.
      Your attorney can provide you with additional information about ADR and advise you as to
whether and when ADR might be helpful in your case.
Dated: October 4, 2022                                    /s/ Una O’Boyle
                                                          Clerk of the Court




DOCS_DE:240678.1 54469/001
